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        STONE BREWING CO., LLC
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   11                        UNITED STATES DISTRICT COURT
   12
                          SOUTHERN DISTRICT OF CALIFORNIA
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                                                 Case No: 18-cv-0331-BEN-LL
   15 STONE BREWING CO., LLC,
                                                 DECLARATION OF J. NOAH
   16     Plaintiff / Counterclaim               HAGEY IN SUPPORT OF
          Defendant,                             PLAINTIFF STONE BREWING
   17                                            CO., LLC’S MOTION TO STRIKE
              v.                                 PORTIONS OF DEFENDANT’S
   18                                            SUMMARY JUDGMENT BRIEFS
        MILLERCOORS LLC,                         OR, IN THE ALTERNATIVE, FOR
   19                                            LEAVE TO FILE
              Defendant / Counterclaim           SUPPLEMENTAL BRIEF
   20         Plaintiff.
                                                 District Judge: Hon. Roger T. Benitez
   21                                            Magistrate Judge: Hon. Linda Lopez

   22                                            Date:    November 25, 2019
   23                                            Time:    10:30 a.m.
                                                 Judge:   Hon. Roger T. Benitez
   24                                            Ctrm:    5A
   25
                                                 Complaint filed: February 12, 2018
   26

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   28                                                     Case No. 18-cv-0331-BEN-LL
          DECL. OF HAGEY ISO STONE’S MOTION TO STRIKE PORTIONS OF DEFENDANT’S
           SUMMARY JUDGMENT BRIEFS OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE
                                  SUPPLEMENTAL BRIEF
Case 3:18-cv-00331-BEN-MDD Document 271-1 Filed 10/18/19 PageID.16724 Page 2 of 3




    1        I, J. Noah Hagey, declare:
    2        1.    I am licensed to practice law before this Court and am counsel of record
    3 for Plaintiff Stone Brewing Co., LLC (“Stone”). I make this declaration based on

    4 personal knowledge and if called upon to testify, I could and would testify

    5 competently thereto.

    6        2.    Following the Court’s September 17, 2019 Order on Stone’s Motion to
    7 Compel, MillerCoors produced hundreds of examples of historical Keystone

    8 marketing materials on or about September 22, 2019. These included the following

    9 documents:

   10                 a.     Attached as Exhibit 1 are true and correct copies of late-
   11                        produced Keystone boxes.
   12                 b.     Attached as Exhibit 2 are true and correct copies of late-
   13                        produced Keystone cans.
   14                 c.     Attached as Exhibit 3 are true and correct copies of late-
   15                        produced Coors catalogues containing alleged Keystone
   16                        merchandise.
   17                 d.     Attached as Exhibit 4 are true and correct copies of late-
   18                        produced Keystone marketing materials.
   19        3.    Attached as Exhibit 5 is a true and correct copy of a document
   20 produced by BCG bearing the Bates range BCG-00008193 – BCG-00008199.

   21        4.    Attached as Exhibit 6 is a true and correct copy of a document
   22 produced by BCG bearing the Bates number BCG-00008165.

   23        5.    Attached as Exhibit 7 is a true and correct copy of a document
   24 produced by BCG bearing the Bates number BCG-00003160.

   25        6.    Attached as Exhibit 8 is a true and correct copy of a document
   26 produced by BCG bearing the Bates range BCG-00009231 – BCG-00009232.

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   28                                     1              Case No. 18-cv-0331-BEN-LL
         DECL. OF HAGEY ISO STONE’S MOTION TO STRIKE PORTIONS OF DEFENDANT’S
          SUMMARY JUDGMENT BRIEFS OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE
                                 SUPPLEMENTAL BRIEF
Case 3:18-cv-00331-BEN-MDD Document 271-1 Filed 10/18/19 PageID.16725 Page 3 of 3




    1        7.    Attached as Exhibit 9 is a true and correct copy of a document
    2 produced by BCG bearing the Bates number BCG-00010219.

    3        I declare under penalty of perjury under the laws of the United States that the
    4 foregoing is true and correct.

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    6 Dated: October 18, 2019                By: /s/ J. Noah Hagey
                                                  J. Noah Hagey
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   28                                     2              Case No. 18-cv-0331-BEN-LL
         DECL. OF HAGEY ISO STONE’S MOTION TO STRIKE PORTIONS OF DEFENDANT’S
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